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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,                       :    CASE NO. 3:18CR032

                      Plaintiff,                :    JUDGE THOMAS M. ROSE

               vs.                              :
                                               GOVERNMENT’S MOTION TO DISMISS
CHRISTOPHER C. ROBERTS, (4)                     :
                                               SUPERSEDING INDICTMENT (DOC.
                                               233) SOLELY AS TO CHRISTOPHER
                       Defendant.          :   C. ROBERTS
                     ____________________________________________________

       Pursuant to the provisions of Rule 48(a) of the Federal Rules of Criminal Procedure,

plaintiff United States of America, by and through its counsel of record, the United States

Attorney=s Office for the Southern District of Ohio, hereby moves to dismiss the Superseding

Indictment without prejudice as it solely applies to the above referenced defendant in this matter.

This motion is based upon the attached memorandum of points and authorities, the files and records

in this case, and such evidence or argument as may be presented at any hearing on this matter.

DATED: July 7, 2020                                  Respectfully submitted,

                                                     DAVID M. DEVILLERS
                                                     United States Attorney


                                                     s/Amy M. Smith
                                                     AMY M. SMITH (0081712)
                                                     Assistant United States Attorney
                                                     Attorney for Plaintiff
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                    MEMORANDUM OF POINTS AND AUTHORITIES

        On December 10, 2019 a Superseding Indictment was returned against defendant

CHRISTOPHER C. ROBERTS.             The Superseding Indictment (Doc. 233) charged the defendant

as follows: Count 2 – aiding and abetting and felon in the possession of a firearm, in violation of

18 U.S.C. §§ 922(g)(1) and 924(a)(2) and 2. On June 23, 2020, an Indictment (Doc. 2) was filed

in 3:20CR062-TMR which charged the defendant with being a felon in possession of a firearm, in

violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).      Federal Rule of Criminal Procedure 48(a)

provides that Athe government may, with leave of court, dismiss an indictment, information, or

complaint.@    Fed. R. Crim. Proc. 48(a). ASeparation-of-powers concerns generally require a

district court to defer to the government's decision to seek a dismissal of a criminal charge because

a denial of the motion would represent an intrusion upon prosecutorial prerogative.@ United States

v. Gonzalez, 58 F.3d 459, 462 (9th Cir. 1995). Phrased differently, Athe decision to dismiss [a

complaint] implicates concerns that the Executive is uniquely suited to evaluate, and a district

court should be reluctant to deny its request.@ Id.; see also United States v. Salinas, 693 F.2d 348,

352 (5th Cir. 1982) (AThe Executive [Branch] remains the absolute judge of whether a prosecution

should be initiated and the first and presumptively the best judge of whether a pending prosecution

should be terminated. The exercise of its discretion with respect to the termination of pending

prosecutions should not be judicially disturbed unless clearly contrary to manifest public

interest.@).

        For these reasons, the Government respectfully submits that it is acting in good faith in

filing for a motion to dismiss without prejudice solely as it applies to this defendant. Pursuant to

the cases cited above, this Court should recognize the great prosecutorial discretion vested with




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the Government and grant the Motion to Dismiss the Superseding Indictment (Doc. 233) as it

solely applies to defendant, CHRISTOPHER C. ROBERTS without prejudice.

DATED: July 7, 2020                                 Respectfully submitted,

                                                    DAVID M. DEVILLERS
                                                    United States Attorney


                                                    s/Amy M. Smith
                                                    AMY M. SMITH (0081712)
                                                    Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing Motion was served this 7th day of July, 2020,

electronically on: Aaron G. Durden, Esq.



                                                    s/Amy M. Smith
                                                    AMY M. SMITH (0081712)
                                                    Assistant United States Attorney




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